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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No. CR 12-295 PAM/AJB

                 Plaintiff,

                 v.                                           ORDER OF PRELIMINARY
                                                              DETENTION PENDING HEARING
                                                              PURSUANT TO BAIL REFORM ACT
Eric Wade Forcier (1),

                 Defendant.
                 _________________________________________________

                 Upon motion of the United States it is ORDERED that a

detention/arraignment hearing is set for December 7, 2012 at 2:30 p.m. before

Magistrate Judge Jeanne J. Graham, 3B US Courthouse, 316 North Robert Street, St.

Paul, Minnesota. Pending this hearing, the Defendant shall be held in custody by the

United States Marshal and produced for the hearing.


Dated: December 4, 2012
                                                       s/ Jeanne J. Graham
                                                     JEANNE J. GRAHAM
                                                     United States Magistrate Judge




*   If not held immediately upon Defendant's first appearance, the hearing may be continued for up to
    three days upon motion of the Government, or up to five days upon motion of the Defendant. 18
    U.S.A. §3142(f)(2).

    A hearing is required whenever the conditions set forth in 18 U.S.C. §3142(f) are present. Subsection
    (1) sets forth the grounds that may be asserted only by the attorney for the Government; subsection
    (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the
    judicial officer's own motion if there is a serious risk that the Defendant (a) will flee; or (b) will obstruct
    or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injury, or
    intimidate a prospective witness or juror.
